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                      Exhibit 1
          Case 4:22-cv-00908 Document 75-1 Filed on 08/21/24 in TXSD Page 2 of 4
                                                   Wednesday, August 21, 2024 at 09:00:43 Central Daylight Time

Subject:    Re: Couvillion v. White Marlin: Issues You Have Ignored
Date:       Wednesday, August 21, 2024 at 8:59:39 AM Central Daylight Time
From:       Jeb Golinkin
To:         Schwank, Daniel
CC:         Michael Cancienne, Denny, Danica, Eason, Suzanne
AEachments: image001.png, image002.jpg, image003.png

Daniel,

Thanks for your responses. You make a fair point on the searchable pdfs/metadata: I didn’t realize we had
produced as non-searchable pdfs with naVves for the spreadsheets. It is not fair for us to ask of you what we
did not do ourselves, so I’m withdrawing that porVon of our request. If you are interested in exchanging
relevant metadata overlays so you have those for your database, we are happy to do so.

-Jeb
--
Joseph W. Golinkin II
Trial Attorney | Jordan, Lynch & Cancienne PLLC
(o) 713-955-4019 | (c) 832-250-6567
1980 Post Oak Blvd., Suite 2300 Houston, Texas 77056
www.jlcfirm.com | Attorney Biography




From: "Schwank, Daniel" <DSchwank@frilot.com>
Date: Monday, August 19, 2024 at 4:17 PM
To: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>, "Denny, Danica" <DDenny@frilot.com>, "Eason,
Suzanne" <Season@frilot.com>
Subject: RE: Couvillion v. White Marlin: Issues You Have Ignored

Hi Jeb,

Please see our comments below in red. Please also conﬁrm that Defendants are withdrawing the
noVces of deposiVon for Jason Holvey and Mitch Dautreuil. As you are aware, we oﬀered August 27
and August 28 for these deposiVons subject to the compleVon of Defendants’ corporate deposiVons,
which we have yet to receive dates for.

Thanks,
Daniel




Daniel E. Schwank (he/him)
1100 Poydras Street, Suite 3700
New Orleans, LA 70163

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504.599.8247 oﬃce
504.599.8137 fax

From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Sent: Saturday, August 17, 2024 5:30 PM
To: Schwank, Daniel <DSchwank@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>
Subject: Couvillion v. White Marlin: Issues You Have Ignored

Daniel,

This is the second (an in some cases, third) Vme I am following up on these topics. By EOB Monday, please let
me know if I need to go to the Court on these requests. I need your documents properly produced no later
than Friday. If I do not hear from you, I will assume you are opposed and will prepare a lejer.

    1. Rogs: Please review Couvillion’s answers to Interrogatory Nos. 3-5, 8-11, 12, 16, 17 and let me know
       whether Couvillion will provide more complete answers, or whether it intends to stand on its exisVng
       objecVons. Couvillion maintains its responses and objecVons to the referenced interrogatories.
       Discovery is sVll ongoing. Defendants are well aware of the outstanding requests for documents and
       deposiVons. Couvillion will comply with its obligaVons, including its duty to supplement, as required by
       the Federal Rules of Civil Procedure.
    2. ProducVon of Evidence in Usable Format: you have not produced your documents in a usable format.
       By EOB Monday, please conﬁrm you will reproduce your documents as they were kept in the ordinary
       course of business. Please immediately re-produce Couvillion’s document producVon consistent with
       the below rules, which (as you know) are standard in virtually every commercial case involving
       meaningful documents. Couvillion produced documents in the same manner as Defendants. Please
       clarify if this request is in reference to any speciﬁc document so Couvillion can evaluate the same.
    3. 30(b)(6) DeposiVon: I’ve now asked for dates three Vmes. Please provide dates or I will noVce the
       deposiVon for a date and Vme of my choosing. Defendants have consistently failed to provide
       Couvillion with dates for resuming Defendants’ corporate deposiVons. We have also requested a new
       date for the deposiVon of Nigel Solida. Couvillion needs to ﬁnalize Defendants’ corporate deposiVons
       prior to Defendants conducVng the corporate deposiVon of Couvillion. Couvillion will provide a date
       for its corporate deposiVon as soon as Defendants oﬀer a mutually agreeable date to complete the
       Defendants’ corporate deposiVons.
InstrucOons for Document ProducOon
   1. File Format:
               PDF Files: All documents should be produced in searchable PDF format. Ensure that the text
               within the PDFs is OCR'd (OpVcal Character RecogniVon) to allow for text searching and
               indexing.
               NaOve Files: For documents that exist naVvely in electronic format (e.g., Word documents, Excel
               spreadsheets, emails), produce these in their original naVve formats alongside the PDFs. Each
               naVve ﬁle should be accompanied by a corresponding PDF version.
   2. Metadata:
               Provide a metadata load ﬁle in .dat or .csv format, including the following ﬁelds:
                       Bates Number
                       Document Date
                       Author
                       Recipient
                       CC (if applicable)
                       BCC (if applicable)

                                                                                                           Page 2 of 3
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                      Document Type (e.g., email, memo, report)
                      File Name (for naVve ﬁles)
                      Custodian
                      File Path
                      ConﬁdenVality DesignaVon (if applicable)
     3. Load Files:
              Provide a load ﬁle compaVble with standard liVgaVon support sonware (e.g., RelaVvity,
              Concordance, SummaVon). The load ﬁle should link the metadata ﬁelds with the corresponding
              documents.
     4. Folder Structure:
              Organize the documents in a logical folder structure that mirrors the original ﬁle system or is
              organized by custodian or date range.
     5. Delivery:
              Provide the producVon electronically via secure ﬁle transfer, encrypted USB drive, or another
              agreed-upon secure method.
              Include a detailed index or cover lejer describing the producVon set and the total number of
              documents and pages produced.

Thanks,

Jeb


--
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